               IN THE COURT OF APPEALS OF NORTH CAROLINA

                                   No. COA23-955

                                Filed 20 August 2024

Wake County, No. 23 CVS 435

VIVIAN B. FEDEROWICZ, D.C., Petitioner,

              v.

NORTH CAROLINA BOARD OF CHIROPRACTIC EXAMINERS, Respondent.


        Appeal by petitioner from order entered 15 June 2023 by Judge G. Bryan

Collins, Jr., in Wake County Superior Court. Heard in the Court of Appeals 2 April

2024.


        Vinson Law PLLC, by Robin K. Vinson, for petitioner-appellant.

        Hedrick Gardner Kincheloe &amp; Garofalo, LLP, by A. Grant Simpkins and Anna
        Baird Choi, for respondent-appellee.


        ZACHARY, Judge.


        This case arises from two complaints submitted to the North Carolina Board

of Chiropractic Examiners (“the Board”) alleging that Petitioner Vivian B.

Federowicz, D.C., violated the North Carolina General Statutes regulating

chiropractic care. Petitioner appeals from the superior court’s order affirming the

Board’s decision to suspend her Doctor of Chiropractic license for six months and,

upon reinstatement, place her on two years of probation with conditions. After careful

review, we affirm.
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                                            Opinion of the Court



                                       I.      Background

       At the time of the complaints, Greenway Chiropractic, PLLC, (“Greenway”)

employed Petitioner as a licensed chiropractor. Petitioner focused her practice on

“pediatrics and pregnancy.” Petitioner taught birthing classes at Greenway’s office

and maintained a podcast and social media accounts titled “Birthing Outside the

Box,” in which she emphasized the advantages of giving birth in one’s home and other

settings outside of a hospital. In a caption for her podcast, Petitioner described herself

as “a chiropractor who specializes in maternal and pediatric care.”

       In December 2021, S.B.,1 who was 33 years old and pregnant with no prior

experience giving birth, heard Petitioner’s podcast and sought her out for “holistic

prenatal care.” S.B. became a patient of Petitioner and began attending her birthing

classes. Based on a conversation with Petitioner early in their relationship, S.B. was

under the impression that Petitioner was her primary care provider and that visiting

an OB-GYN was unnecessary.

       S.B.’s chiropractic appointments consisted of Petitioner discussing her podcast

with S.B., recommending books to her, and—although Petitioner did not document it

in her records—treating S.B. with the “Webster Technique.”2 Additionally, Petitioner

“measured the fundal height” of S.B.’s baby and told her that “it felt like [her] baby




       1 We use the patient’s initials to protect her identity.
       2 In its amended final decision, the Board explains: “The Webster Technique is a chiropractic

technique used to treat pregnant patients.”

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was head down and ready to be born.”

       Petitioner’s medical records indicated that she was treating S.B. only “for

routine chiropractic maintenance/wellness care”; none of Petitioner’s 38 treatment

records from December 2021 to August 2022 mention S.B.’s pregnancy or prenatal

care. Petitioner never conducted an ultrasound or took S.B.’s vitals. At appointments

and in birthing classes, Petitioner discussed what she perceived as the risks of the

use of fetal ultrasounds. Additionally, despite knowing that S.B. suffered from mild

scoliosis, Petitioner did not order an x-ray of S.B. until her last visit on 3 August 2022.

       At an appointment close to her delivery date, S.B. voiced concern about not

having a reliable midwife to assist with her home birth, and Petitioner suggested that

S.B. and her baby’s father could “just do it”—deliver the baby on their own. After S.B.

expressed doubt, Petitioner told S.B. that, for a fee, she could be present for the birth

depending on her work schedule. On the afternoon of 9 July 2022, S.B.’s water broke,

and early the following morning, Petitioner visited her home. When S.B. expressed

alarm over her delivery not progressing, Petitioner encouraged her not to go to the

hospital. Subsequently, Petitioner attempted to use a Doppler3 that S.B.’s partner

had borrowed from a midwife to measure the fetal heartbeat. Shortly thereafter,

Petitioner left S.B. and the father alone in their home.




       3 A “Doppler ultrasound uses sound waves to measure [a] baby’s heart rate.” Fetal Heart Rate

Monitoring, Cleveland Clinic, https://my.clevelandclinic.org/health/diagnostics/ 23464-fetal-heart-
rate-monitoring (last updated July 13, 2022).

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      As S.B.’s labor progressed, serious complications arose, and a call was placed

to 911. When EMS arrived, they discovered that the baby was partially delivered “in

the breech position—delivering feet first.” EMS transported S.B. to the emergency

room at WakeMed Hospital. Petitioner arrived at the hospital shortly after. Hospital

staff pronounced S.B.’s baby deceased. Thereafter, S.B. had three additional office

visits with Petitioner; however, the Board would later note that even “[t]he medical

records from those visits do not reflect [that S.B.] had previously attempted

childbirth.”

      On 14 July 2022, Lindsay Lavin, M.D. (“Dr. Lavin”), an emergency room

physician who treated S.B. at WakeMed, filed a complaint with the Board against

Petitioner. In her complaint, Dr. Lavin alleged the existence of the following grounds

for the professional discipline of Petitioner: (1) unethical conduct; (2) negligence,

incompetence, or malpractice; and (3) “[n]ot rendering acceptable care in the practice

of the profession.” Dr. Lavin cited Petitioner leaving S.B.’s home before EMS arrived,

and upon appearing at the hospital, merely “introduc[ing] herself as a ‘friend’ to

medical staff and . . . not provid[ing] any [of S.B.’s] medical history.” On 20 July 2022,

the Board received an emailed complaint from Coryell Perez, M.D. (“Dr. Perez”), a

labor and delivery physician who also treated S.B. at WakeMed, alleging that

Petitioner “practiced outside of the scope of chiropractic by providing prenatal care

and/or attending to a patient during a home birth” and asserting that “[t]his outcome

was completely preventable.”

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         After opening an investigation, the Board interviewed Dr. Lavin and Dr. Perez

and reviewed Petitioner’s social media posts and podcast, the 10 July EMS report,

and S.B.’s medical records from WakeMed. The Board’s investigation concluded that

Petitioner could be in violation of the prohibitions against “[u]nethical conduct” and

failure to render “acceptable care in the practice of the profession[.]”

         On 13 October 2022, the Board issued an order for summary suspension of

Petitioner’s license pending a hearing. On 21 October 2022, Petitioner filed a motion

to lift the summary suspension. After a hearing on 3 November 2022, the Board

entered an order lifting the summary suspension. In its order, the Board noted that

Greenway had adopted an informed-consent form for pregnant patients that included

affirmations that patients understand that the chiropractic care they would receive

“is not equivalent and does not replace medical prenatal care”; that Petitioner is a

chiropractor and not a medical doctor; that the Webster Technique is not performed

to “flip my baby” in utero; and that Petitioner is “unable to tell me the position of my

baby.”

         On 16 December 2022, the Board held an administrative hearing, and on 21

December, it issued its amended final agency decision and order,4 in which the Board

made the following conclusions of law:

                 1. Disciplinary action is appropriate pursuant to [N.C.
                    Gen. Stat. §] 90-154(b)(4). [Petitioner] violated 21

         4 The Board amended its final decision to correct the effective date of its decretal portion; this

amendment does not affect any of the issues on appeal.

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   NCAC 10.0302(b)(3) and 21 NCAC 10.0304 and
   engaged in unethical conduct, as defined in [N.C. Gen.
   Stat. § 90-154.2(5)], by publicly describing herself as a
   chiropractor “who specializes in maternal and pediatric
   care”, when she does not have the qualifications
   required by Rule 21 NCAC 10.0304.

   The Board recognizes only those specialties listed in 21
   NCAC 10.0304(b) or approved pursuant to 21 NCAC
   10.0304(c), and licentiates desiring to use a specialty
   designation must first demonstrate that all
   requirements to do so have been met. Any published
   claim of specialization outside the recognized
   specialties or any published claim of specialization
   made by or at the behest of a licentiate who has not
   satisfied all applicable provisions of 21 NCAC 10.0304
   constitutes false or misleading advertising. 21 NCAC
   10.0304(e). [Petitioner] has not satisfied all applicable
   provisions of 21 NCAC 10.0304. Thus, [Petitioner]’s
   published description of herself as a chiropractor who
   specializes in maternal and pediatric care constitutes
   false or misleading advertising, which constitutes
   unethical conduct pursuant to [N.C. Gen. Stat. § 90-
   154.2(5)].

2. Disciplinary action is appropriate pursuant to [N.C.
   Gen. Stat. §] 90-154(b)(5). [Petitioner] committed
   negligence in the practice of chiropractic by failing to
   secure appropriate care for a patient. [Petitioner] was
   aware that her 33-year-old patient had no prior
   experience in giving birth, had not had an ultrasound,
   and for at least some period had not been receiving
   medical pre-natal care. [Petitioner] was aware that her
   patient’s water had broken more than 24 hours before
   the time she left the home of a laboring patient knowing
   that a mid-wife or other medical provider was not
   present and was not forthcoming. She failed to secure
   appropriate care for the patient.

3. Disciplinary action is appropriate pursuant to [N.C.
   Gen. Stat. §] 90-154(b)(7). [Petitioner] failed to render


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                acceptable care in the practice of the profession, as
                defined in [N.C. Gen. Stat. §] 90-154.3(a), by failing to
                properly examine, document and manage the care of a
                pregnant patient, including during such times that
                [Petitioner] knew no other provider was providing care.

      Based upon these conclusions of law, the Board suspended Petitioner’s license

for six months and placed her on two years of probation with conditions for

reinstatement. Among the conditions for reinstatement, the Board required

Petitioner to complete courses in professional standards and documentation, as well

as pay to the Board $10,000.00 for the costs of her disciplinary proceeding.

Additionally, during her period of probation, Petitioner was prohibited from providing

chiropractic care to “any patient known to be pregnant[,]” unless the patient had

executed a revised version of Greenway’s informed-consent form that included a

statement that the patient is “under the care of a formally trained and certified

provider (obstetrician or nurse midwife) who could provide standard-of-care prenatal

monitoring and labor/delivery care.”

      On 12 January 2023, Petitioner filed a petition for judicial review of the

amended final decision. Petitioner did not challenge the Board’s conclusion of law 1,

concerning the ground for discipline of unethical conduct based on false or misleading

advertising. However, she did challenge the remaining two conclusions of law, as well

as certain aspects of the discipline that the Board ordered in its amended final

decision. On 23 May 2023, the matter came on for hearing in Wake County Superior

Court, and on 15 June 2023, the court entered its order affirming the Board’s

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amended final decision. In its order, the superior court concluded, inter alia:

                2. [The Board’s] Conclusion of Law 2 is supported by
                   the evidence in the record, testimony at hearing, and
                   the Board’s statutes and rules governing the
                   practice of chiropractic. The Board did not exceed
                   statutory authority in finding [Petitioner] negligent
                   in the practice of chiropractic.

                3. [The Board’s] Conclusion of Law 3 is supported by
                   the evidence in the record, testimony at hearing, and
                   the Board’s statutes and rules governing the
                   practice of chiropractic. The Board properly
                   determined [Petitioner] failed to render acceptable
                   care in the practice of chiropractic.

                4. The Board did not abuse its discretion in imposing
                   probationary terms in Order paragraph 6 based on
                   the evidence presented at the contested case and in
                   light of the entire record.

                5. The Board has statutory authority to impose
                   payment of costs and/or attorney’s fees to a licensee
                   found to have violated Board statutes and rules.

                6. [Petitioner] has failed to meet her burden under
                   N.C. Gen. Stat. § 150B-51(b) of showing that the
                   Board prejudiced her substantial rights.

      Petitioner filed timely notice of appeal.

                                 II.   Discussion

      As she did before the superior court, Petitioner primarily raises issues of law

on appeal, concerning the breadth of the Board’s ordered discipline.

      First, Petitioner asserts that “[t]he Board did not and does not have jurisdiction

and regulatory authority over” her “private conduct[.]” Petitioner then argues that

she “cannot be responsible for managing the medical prenatal and obstetrical care of

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a chiropractic patient whether or not [Petitioner] has knowledge that no other

provider was providing prenatal and obstetrical care for the chiropractic patient[.]”

She also contends that “the Board cannot require [her] to treat only pregnant patients

who are undergoing medical prenatal care and to ensure that such medical prenatal

care is maintained at all times during the pregnancy[.]”

      Additionally, Petitioner alleges that “there is no factual basis in [the] record,

the Board’s findings of fact or its conclusions of law that support an award of costs

and/or attorneys’ fees in this proceeding[.]” For the reasons explained below,

Petitioner’s arguments fail to persuade.

A. Standard of Review

      The Board is an “occupational licensing agency” as defined by N.C. Gen. Stat.

§ 150B-2(4b) (2023). Accordingly, hearings conducted by the Board are governed by

the North Carolina Administrative Procedure Act (“the APA”). Hardee v. N.C. Bd. of

Chiropractic Exam’rs, 164 N.C. App. 628, 632, 596 S.E.2d 324, 327, disc. review

denied, 359 N.C. 67, 604 S.E.2d 312 (2004). The Board’s final decisions are appealable

to “the superior court of the county where the person aggrieved by [a final decision]

resides[.]” N.C. Gen. Stat. § 150B-45(b)(2).

      The superior court may reverse or modify the Board’s final decision “if the

substantial rights of the petitioners may have been prejudiced because the [Board’s]

findings, inferences, conclusions, or decisions are”:

             (1) In violation of constitutional provisions;

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             (2) In excess of the statutory authority or jurisdiction of the
                 agency or administrative law judge;

             (3) Made upon unlawful procedure;

             (4) Affected by other error of law;

             (5) Unsupported by substantial evidence admissible under
                 [N.C. Gen. Stat. §§] 150B-29(a), 150B-30, or 150B-31 in
                 view of the entire record as submitted; or

             (6) Arbitrary, capricious, or an abuse of discretion.

Id. § 150B-51(b). In reviewing questions of fact, the superior court applies “the ‘whole

record test’ and is bound by the findings of the [Board] if they are supported by

competent, material, and substantial evidence in view of the entire record as

submitted.” Hardee, 164 N.C. App. at 633, 596 S.E.2d at 328 (cleaned up). The

superior court reviews errors of law de novo. Id.
      The superior court’s order is appealable to this Court, which applies the same

scope of review as for other civil cases. See N.C. Gen. Stat. § 150B-52. “Thus, this

Court examines the [superior] court’s order for errors of law; this twofold task

involves: (1) determining whether the [superior] court exercised the appropriate scope

of review and, if appropriate, (2) deciding whether the court did so properly.” Hardee,

164 N.C. App. at 633, 596 S.E.2d at 328 (cleaned up).

      On appeal, the appellant bears the burden to show an error by the lower court.

Rittelmeyer v. Univ. of N.C. at Chapel Hill, 252 N.C. App. 340, 349, 799 S.E.2d 378,

384, disc. review denied, 370 N.C. 67, 803 S.E.2d 385 (2017). “Unchallenged findings

of fact are binding on appeal.” Sharpe-Johnson v. N.C. Dep’t of Pub. Instruction, 280

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N.C. App. 74, 81, 867 S.E.2d 188, 192 (2021).

B. Analysis

      In that we are reviewing an order of the superior court acting as a reviewing

court, our first task under the APA is to determine “whether the [superior] court

exercised the appropriate scope of review[,]” Hardee, 164 N.C. App. at 633, 596 S.E.2d

at 328 (citation omitted), as governed by the type of error asserted by Petitioner, see

N.C. Gen. Stat. § 150B-51(c). Here, the superior court determined that most of

Petitioner’s asserted errors raised questions of law and applied de novo review to

those issues. The sole exception appears to be the issue of whether the Board could

“require the language in the informed[-]consent form” found in the decretal portion

of the amended final decision, which the trial court determined was “a fact-based

challenge” and to which it applied whole-record review.

      On appeal, Petitioner argues that the informed-consent issue, like her

jurisdictional and regulatory authority arguments, reveals “that the Board does not

have the lawful authority to impose an obligation upon a licensee[.]” Petitioner also

argues that the issue of the imposition of costs as a condition of reinstatement “is not

based on any evidence, finding of fact, or conclusion of law that concludes that the

fees assessed in this case were ‘reasonable,’ as required by statute” and, therefore,

deserves whole-record review.

      Nevertheless, Petitioner does not contend that this discrepancy in the trial

court’s applied standards of review is a reversible error in and of itself, and nor would

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it necessarily be so. On appeal from an administrative tribunal, a reviewing court’s

“use of an incorrect standard of review does not automatically require remand. If the

record enables the appellate court to decide whether grounds exist to justify reversal

or modification of that decision under N.C. Gen. Stat. § 150B-51(b), the reviewing

court may make that determination.” Vanderburg v. N.C. Dep’t of Revenue, 168 N.C.

App. 598, 607, 608 S.E.2d 831, 838 (2005) (citation omitted). Accordingly, we review

Petitioner’s legal issues de novo, while applying the whole-record test to the costs

issue.

   1. Scope of the Board’s Review

         Petitioner first maintains that the superior court erred “when it failed to

overturn the Board’s decision” that she was negligent. Specifically, Petitioner directs

her argument at the Board’s conclusion of law 2, in which the Board determined that

Petitioner “failed to secure appropriate care for” S.B. Petitioner alleges that the Board

exceeded its “jurisdiction and regulatory authority” because this conclusion “does not

relate to the practice of Chiropractic.”

         This challenge to the Board’s conclusion of law 2 implicates the superior court’s

conclusion that “[t]he Board did not exceed statutory authority in finding [Petitioner]

negligent in the practice of chiropractic.” See N.C. Gen. Stat. § 90-154(b)(5)

(authorizing the Board to take disciplinary action on the grounds of “[n]egligence,

incompetence, or malpractice in the practice of chiropractic”). “Chiropractic” is

defined in our General Statutes as “the science of adjusting the cause of disease by

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realigning the spine, releasing pressure on nerves radiating from the spine to all

parts of the body, and allowing the nerves to carry their full quota of health current

(nerve energy) from the brain to all parts of the body.” Id. § 90-143(a). Considering

the scope of this definition, Petitioner contends that the Board’s reasoning governs

“[m]edical prenatal care and obstetrics”—topics that are not “subject to the Board’s

authority.”

      However, we need not consider the legal issue of whether the Board’s

jurisdiction extends to disciplining licensees for practice beyond the scope of

chiropractic care—such as Petitioner’s apparent practices here—because both the

superior court and the Board also made unchallenged findings of fact and conclusions

of law concerning Petitioner’s negligence within the scope of the practice of

chiropractic.

      On judicial review of the Board’s conclusion, the superior court found as fact

that the Board’s conclusion of law 2 was “supported by the findings that [Petitioner]

failed to keep adequate clinical notes or records, and failed to perform proper

examinations of the patient” and, therefore, “was supported by the evidence in the

record, testimony at [the] hearing, findings of fact, and pertinent law.” Moreover, in

the underlying amended final decision, the Board found as fact that, inter alia,

Petitioner did not document in any of her records her use of the “Webster Technique”

that she used to treat S.B., which Petitioner conceded “should’ve been documented.”

Additionally, the Board found that—except for the initial visit—Petitioner’s

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treatment records for each of S.B.’s 38 office visits “is virtually identical to the others

in all respects.”

       Petitioner does not challenge the superior court’s findings of fact, which are

thus binding on appeal. Sharpe-Johnson, 280 N.C. App. at 81, 867 S.E.2d at 192.

Further, these findings of fact, as well as the Board’s findings of fact in the underlying

amended final decision, plainly relate to the practice of chiropractic. It is manifest

that the superior court correctly concluded that the Board did not exceed its

jurisdictional authority, as a matter of law, by disciplining Petitioner for her

negligence in the practice of chiropractic. Petitioner’s challenge is overruled.

       Similarly, Petitioner contends that the superior court erred by concluding that

“[t]he Board properly determined [Petitioner] failed to render acceptable care in the

practice of chiropractic.” The superior court also determined that the Board’s

conclusion of law 3 “was supported by the evidence in the record, testimony at [the]

hearing, findings of fact, and pertinent law.” And as before, Petitioner does not

challenge these findings of fact, by which we are thus bound on appeal. Id.

       Rather, Petitioner alleges that “the Board is holding [her] to a standard of care

which is not within the practice of chiropractic and beyond the scope of the Board’s

power of regulation” and asserts that it is “outrageous that a chiropractor should be

required to step in and take over for a medical prenatal provider when the

chiropractor finds that the provider is no longer tending to the pregnant patient.”

However, as with her challenge to the negligence issue, Petitioner overreads the

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Board’s conclusion.

      The Board did not discipline Petitioner because she failed to provide “medical

prenatal” care; rather, as the superior court noted, the Board disciplined Petitioner

because she failed to render acceptable chiropractic care. As the superior court

astutely explained, it was “within the province of the Board to determine whether

[Petitioner] committed negligence in the practice or failed to render acceptable care

in the profession.” Consequently, Petitioner’s contention that the superior court erred

by failing to overturn the Board’s conclusion of law 3 also fails.

   2. Informed Consent

      Petitioner next challenges the superior court’s conclusion that “[t]he Board did

not abuse its discretion in imposing probationary terms in . . . paragraph 6 [of the

decretal section of the amended final decision] based on the evidence presented at the

contested case and in light of the entire record.”

      Paragraph 6 of the amended final decision’s decretal section states:

             During probation, [Petitioner] shall not provide
             chiropractic care to any patient known to be pregnant
             unless such patient has executed an Informed Consent in
             substantially the same form as the Informed Consent
             attached to the Order Lifting Summary Suspension;
             provided that the Informed Consent form shall be edited to
             include a statement that such pregnant patient must be
             under the care of a formally trained and certified provider
             (obstetrician or nurse midwife) who could provide
             standard-of-care prenatal monitoring and labor/delivery
             care.

      Petitioner contends that this informed-consent condition “is beyond the proper

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regulation and supervision of the practice of chiropractic[.]” However, we have

previously recognized that “[t]he discipline imposed upon chiropractors is consigned

to the discretion of the Board. In exercising this discretion, the Board may consider

evidence concerning a chiropractor’s truthfulness and character. Indeed, honesty and

good moral character are prevalent themes in the North Carolina Chiropractic Act.”

Hardee, 164 N.C. App. at 635, 596 S.E.2d at 329. Here, as detailed above, the Board

found that Petitioner had committed unethical conduct “by publicly describing herself

as a chiropractor ‘who specializes in maternal and pediatric care[,’] when she does not

have the qualifications” for such specialization. The challenged informed-consent

requirement relates directly to the grounds for discipline and is properly within “the

discretion of the Board.” Id.
      Petitioner also claims that “the Board appears to require [Petitioner] . . . to, in

effect, assure that the chiropractic patient is at all times under the medical prenatal

care of a ‘formally trained and certified provider (obstetrician or nurse midwife) who

can provide standard-of-care prenatal monitoring and labor/delivery care.’ ” Our

review of the informed-consent form reveals no such appearance, however. The

challenged portion of the informed-consent form cited by Petitioner places the burden

of assurance on the prospective patient, not Petitioner; that is, read in concert with

the rest of the informed-consent form, it is plain that the patient signing the form

must assure Greenway that the patient is “under the care of a formally trained and

certified provider (obstetrician or nurse midwife) who could provide standard-of-care

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prenatal monitoring and labor/delivery care.” When read in its proper context, the

informed-consent requirement places no improper burden on Petitioner.

      Petitioner further argues that the informed-consent requirement “violates the

patient’s freedom of choice in selecting chiropractic care” as guaranteed by N.C. Gen.

Stat. § 90-157.1, which provides:

             No agency of the State, county or municipality, nor any
             commission or clinic, nor any board administering relief,
             social security, health insurance or health service under
             the laws of the State of North Carolina shall deny to the
             recipients or beneficiaries of their aid or services the
             freedom to choose a duly licensed chiropractor as the
             provider of care or services which are within the scope of
             practice of the profession of chiropractic as defined in this
             Chapter.

N.C. Gen. Stat. § 90-157.1.

      However, the Board persuasively observes that it is not a “board administering

relief” under § 90-157.1, and it does not “deny [to any] recipients or beneficiaries of

[its] aid or services the freedom to choose a [duly] licensed chiropractor” when it

imposes a condition of reinstatement upon Petitioner’s license. Nothing about the

required informed-consent language denies any “patient’s freedom of choice”—either

as initially provided by Greenway or as revised by the Board. Petitioner’s argument

is thus overruled.

   3. Reasonable Costs

      Finally, Petitioner challenges the superior court’s determination that the

Board properly imposed costs of the disciplinary proceedings as a condition of

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reinstatement. On this issue, the superior court held that “the Board has sufficient

statutory authority to impose costs and attorney’s fees for a licensee found to have

violated Board statutes and rules pursuant to N.C. Gen. Stat. § 90-157.4(d)” and that,

accordingly, Petitioner “failed to show that the Board erred with respect to awarding

costs and/or attorney’s fees.”

       Petitioner contends that the Board impermissibly imposed costs without

making findings of fact or conclusions of law as to the reasonableness of the

$10,000.00 award of costs. “If a licensee is found to have violated any provisions of

this Article or any rule adopted by the Board, the Board may charge the costs of a

disciplinary proceeding, including reasonable attorneys’ fees, to that licensee.” N.C.

Gen. Stat. § 90-157.4(d). Petitioner homes in on the word “reasonable” and argues

that the Board’s imposition of costs, “without any factual foundation and analysis,

. . . cannot stand.”

       Petitioner cites Early v. County of Durham, Department of Social Services, in

which this Court addressed the reasonableness of attorney’s fees under N.C. Gen.

Stat. § 6-19.1. 193 N.C. App. 334, 346–47, 667 S.E.2d 512, 521–22 (2008), disc. review

denied, 363 N.C. 372, 678 S.E.2d 237 (2009). However, that case is inapposite, as a

court may award attorney’s fees pursuant to § 6-19.1 “only upon a finding that the

agency acted without substantial justification and that there are no special

circumstances that would make the award of attorney’s fees unjust.” Winkler v. N.C.

State Bd. of Plumbing, Heating &amp; Fire Sprinkler Contr’rs, 374 N.C. 726, 734, 843

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                                   Opinion of the Court



S.E.2d 207, 213 (2020). “The purpose of [N.C. Gen. Stat.] § 6-19.1 is to curb

unwarranted, ill supported suits initiated by State agencies, by requiring that the

State’s action be substantially justified.” Id. at 735, 843 S.E.2d at 213 (cleaned up).

Not only was Petitioner not the prevailing party in this case, but it is evident that the

Board’s initiation of this disciplinary proceeding was neither “unwarranted” nor “ill

supported[.]” Id. (citation omitted).

      Here, as noted above, the superior court correctly found that “[t]he Board has

sufficient statutory authority to impose costs and attorney’s fees for a licensee found

to have violated Board statutes and rules pursuant to N.C. Gen. Stat. § 90-157.4(d).”

The court also found that Petitioner “failed to show that the Board erred with respect

to awarding costs and/or attorney’s fees.” So too on appeal. Petitioner primarily

asserts that “[t]here is no factual or legal basis upon which to determine whether the

award of costs” was “reasonable.” By grounding her argument in the requirement

that the Board make explicit findings and conclusions regarding reasonableness,

however, Petitioner has essentially forgone any attempt to argue that the amount of

the award was unreasonable. Petitioner merely alleges—without support—that

“[t]he assessment of $10,000.00 against [her] is punitive in nature.”

      It is axiomatic that the burden is on the appellant to show an error by the lower

court. As the superior court concluded, the Board indisputably has the statutory

authority to impose an award of reasonable costs. N.C. Gen. Stat. § 90-157.4(d).

Because Petitioner does not demonstrate on appeal how the award of costs was

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                                Opinion of the Court



unreasonable, Petitioner has not carried her burden. Therefore, this argument is

overruled.

                             III.   Conclusion

      Accordingly, we affirm the superior court’s order affirming the Board’s

amended final decision.

      AFFIRMED.

      Judges HAMPSON and THOMPSON concur.




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